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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

******************* * *
ROBERTA GREEN,           *
                         *                           No. 13-920V
             Petitioner, *                           Special Master Christian J. Moran
                         *
v.                       *                           Filed: May 4, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; trivalent influenza (“flu”)
AND HUMAN SERVICES,      *                           vaccine; Guillain-Barré Syndrome
                         *                           (“GBS”).
             Respondent. *
****************** ** *

Peter H. Myers, National Law Center Vaccine Injury Clinic, Washington, DC, for
petitioner;
Glenn A. Macleod, United States Dep’t of Justice, Washington, DC, for
respondent.
                              UNPUBLISHED DECISION1

       On May 1, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Roberta Green on November 21, 2013. In her petition,
petitioner alleged that the trivalent influenza (“flu”) vaccine, which is contained in
the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she
received on October 11, 2011, caused her to suffer Guillain-Barré Syndrome
(“GBS”). Petitioner further alleges that she suffered the residual effects of this
injury for more than six months. Petitioner represents that there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her
condition.


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Respondent denies that the flu vaccine caused petitioner’s GBS or any other
injury and further denies that her current disabilities are a sequela of a vaccine-
related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein:

        A lump sum of $165,000.00 in the form of a check payable to petitioner,
        Roberta Green, representing compensation for all damages that would
        be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-920V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

IT IS SO ORDERED.
                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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